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                        UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA


RG Golf Warehouse, Inc.,                             Case No.: 19-CV-0585 (WMW/DTS)

                              Plaintiff,

vs.
                                                              ANSWER
The Golf Warehouse, Inc.,

                              Defendant.


        COMES NOW Defendant The Golf Warehouse, Inc. (“Defendant” or “TGW”),

by its undersigned attorneys, and as and for its Answer to RG Golf Warehouse, Inc.’s

(“Plaintiff” or “RG Golf”) Complaint, denies each and every thing, matter, and allegation

contained in the Complaint except as hereinafter accepted, admitted, or otherwise

allowed.

                                           Parties

        1.     TGW lacks sufficient information to admit or deny the allegations in

Paragraph 1.

        2.     With respect to the allegations in Paragraph 2, TGW admits that The Golf

Warehouse, Inc. was previously a privately held Delaware corporation, but because of a

recent corporate restructuring is now a privately held Minnesota limited liability

company, with its principal place of business in Kansas, but denies the remaining

allegations in Paragraph 2.
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                                 Jurisdiction and Venue

       3.      The allegations in Paragraph 3 state legal conclusions to which no response

is required. To the extent a response is required, Defendant does not dispute that this

Court has diversity jurisdiction over this case under 28 U.S.C. § 1332, and supplemental

jurisdiction under 28 U.S.C. § 1367.

       4.      The allegations in Paragraph 4 state legal conclusions to which no response

is required. To the extent a response is required, TGW admits that it is owned by the

parent companies and/or entities listed in its Rule 7.1 Corporate Disclosure Statement

(ECF 10), that TGW and RG Golf executed a referral agreement on or about March 10,

2011 (the “Referral Agreement”), which document speaks for itself, and that TGW

terminated the Referral Agreement on November 12, 2014. Further answering, TGW

denies the allegations contained in Paragraph 4 that are inconsistent with the terms of the

Referral Agreement. TGW lacks sufficient information to admit or deny the remaining

factual allegations in Paragraph 4.

       5.      The allegations in Paragraph 5 state legal conclusions to which no response

is required. To the extent a response is required, Defendant does not dispute that venue is

proper in this district.

                                      Factual Allegations

       6.      With respect to the allegations in Paragraph 6, TGW admits that RG Golf

and TGW signed a Confidential Letter of Intent dated February 21, 2011 (“LOI”), which

document speaks for itself. Further answering, TGW denies the allegations contained in

Paragraph 6 that are inconsistent with the terms of the LOI.


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       7.      With respect to the allegations in Paragraph 7, TGW admits that RG Golf

and TGW executed the Referral Agreement dated March 10, 2011, which document

speaks for itself.      Further answering, TGW denies the allegations contained in

Paragraph 7 that are inconsistent with the terms of the Referral Agreement.

       8.      With respect to the allegations in Paragraph 8, TGW admits that RG Golf

and TGW executed the Referral Agreement dated March 10, 2011, which document

speaks for itself.      Further answering, TGW denies the allegations contained in

Paragraph 8 that are inconsistent with the terms of the Referral Agreement.

       9.      The allegations in Paragraph 9 state legal conclusions to which no response

is required.

       10.     The allegations in Paragraph 10 state legal conclusions to which no

response is required.

       11.     TGW lacks sufficient information to admit or deny the allegations in

Paragraph 11.

       12.     With respect to the allegations in Paragraph 12, TGW admits that it, and/or

its predecessors in interest, owned and/or operated several web domains for the purpose

of selling golf related merchandise. TGW lacks sufficient information to admit or deny

the remaining allegations in Paragraph 12.

       13.     With respect to the allegations in Paragraph 13, TGW admits that RG Golf

and TGW executed the Referral Agreement and the LOI, which documents speak for

themselves. Further answering, TGW denies the allegations contained in Paragraph 13

that are inconsistent with the terms of the Referral Agreement and/or the LOI.


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      14.    With respect to the allegations in Paragraph 14, TGW admits that RG Golf

and TGW executed the Referral Agreement, which document speaks for itself. Further

answering, TGW denies the allegations contained in Paragraph 14 that are inconsistent

with the terms of the Referral Agreement.

      15.    TGW lacks sufficient information to admit or deny what Plaintiff

“noticed”, but denies the remaining allegations in Paragraph 15, and affirmatively denies

that it breached the Referral Agreement.

      16.    With respect to the allegations in Paragraph 16, TGW admits that RG Golf

and TGW discussed issues relating to the tracking of cookies and that TGW duly

addressed any issues related to the same. TGW denies the remaining allegations in

Paragraph 16, and TGW affirmatively denies that it breached the Referral Agreement.

      17.    With respect to the allegations in Paragraph 17, TGW lacks sufficient

information to admit or deny what Plaintiff “noticed”, admits it disclosed certain sales

data and information to RG Golf pursuant to the Referral Agreement, denies the

remaining allegations in Paragraph 17, and affirmatively denies that it breached the

Referral Agreement.

      18.    Defendant denies the allegations in Paragraph 18.

      19.    With respect to the allegations in Paragraph 19, TGW admits that RG Golf

and TGW discussed issues relating to sales data and that RG Golf requested additional

data, but denies the remaining allegations in Paragraph 19, and TGW affirmatively denies

that it breached the Referral Agreement.




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      20.    With respect to the allegations in Paragraph 20, TGW admits that RG Golf

requested additional sales data and that TGW duly addressed any issues related to the

same, but denies the remaining allegations in Paragraph 20, and TGW affirmatively

denies that it breached the Referral Agreement.

      21.    With respect to the allegations in Paragraph 21, TGW admits that RG Golf

and TGW unsuccessfully attempted to resolve Plaintiff’s claims, but denies the remaining

allegations in Paragraph 21, and TGW affirmatively denies that it breached the Referral

Agreement.

      22.    With respect to the allegations in Paragraph 22, TGW admits that one or

more of its employees who were involved in discussions with RG Golf left their

employment with TGW during and after the term of the Referral Agreement, but denies

the remaining allegations in Paragraph 22, and TGW affirmatively denies that it breached

the Referral Agreement.

      23.    With respect to the allegations in Paragraph 23, TGW admits that RG Golf

and TGW discussed issues relating to, referral fees, the tracking of cookies and sales

data, but denies the remaining allegations in Paragraph 23, and TGW affirmatively denies

that it breached the Referral Agreement.

      24.    TGW lacks sufficient information to admit or deny the allegations in

Paragraph 24 given that the phrase “positioning itself for sale” is vague, ambiguous and

undefined.

      25.    TGW denies the allegations in Paragraph 25.

      26.    TGW denies the allegations in Paragraph 26.


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       27.    With respect to the allegations in Paragraph 27, TGW admits that it

terminated the Referral Agreement on or about November 11, 2014, but denies the

remaining allegations in Paragraph 27.

       28.    With respect to the allegations in Paragraph 28, TGW admits that it

terminated the Referral Agreement on or about November 11, 2014 and that it has not

done further business with RG Golf. TGW further answers that the Court has dismissed

Count III, and therefore, no response to the remaining allegations relating to Count III,

including Paragraph 28, is required.

       29.    TGW answers that the Court has dismissed Count III, and therefore, no

response to allegations relating to Count III, including Paragraph 29, is required.

       30.    With respect to the allegations in Paragraph 30, TGW admits that at various

times RG Golf requested additional information from TGW, but denies the remaining

allegations in Paragraph 30, and TGW affirmatively denies that it breached the Referral

Agreement.

       31.    With respect to the allegations in Paragraph 31, TGW lacks sufficient

information to admit or deny what Plaintiff “learned” or when Plaintiff allegedly learned

it, but denies the remaining allegations in Paragraph 31.

       32.    With respect to the allegations in Paragraph 32, TGW admits that RG Golf

and TGW discussed issues relating to sales data and that at various times RG Golf

requested additional information from TGW, but denies the remaining allegations in

Paragraph 32 and TGW affirmatively denies that it breached the Referral Agreement.




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       33.    The allegations in Paragraph 33 state legal conclusions to which no

response is required. To the extent a response is required, TGW denies the allegations in

Paragraph 33.

                                         COUNT I
                                    (Breach of Contract)

       34.    Paragraph 34 does not contain specific allegations against TGW, and is

instead, a reassertion of prior allegations against TGW. To the extent that Paragraph 34

contains allegations against TGW, TGW denies the same and re-alleges and incorporates

by reference all prior responses as if set forth herein.

       35.    The allegations in Paragraph 35 state legal conclusions to which no

response is required. To the extent a response is required, TGW denies the allegations

contained in Paragraph 35 that are inconsistent with the provisions of the Referral

Agreement and the applicable law.

       36.    The allegations in Paragraph 36 state legal conclusions to which no

response is required. To the extent a response is required, TGW denies the allegations

contained in Paragraph 36 that are inconsistent with the provisions of the Referral

Agreement and the applicable law.

       37.    TGW denies the allegations in Paragraph 37.

       38.    TGW denies the allegations in Paragraph 38.

       39.    TGW denies the allegations in Paragraph 39.

       40.    TGW denies the allegations in Paragraph 40.




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                                    COUNT II
                (Breach of Covenant of Good Faith and Fair Dealing)

       41.    Paragraph 41 does not contain specific allegations against TGW, and is

instead, a reassertion of prior allegations against TGW. To the extent that Paragraph 41

contains allegations against TGW, TGW denies the same and re-alleges and incorporates

by reference all prior responses as if set forth herein. TGW further answers that the

parties have stipulated to the dismissal of Count II, Count II has been dismissed, and

therefore no response to allegations relating to Count II, including Paragraph 41, is

required.

       42.    TGW answers that the parties have stipulated to the dismissal of Count II,

Count II has been dismissed, and therefore no response to allegations relating to Count II,

including Paragraph 42, is required.

       43.    TGW answers that the parties have stipulated to the dismissal of Count II,

Count II has been dismissed, and therefore no response to allegations relating to Count II,

including Paragraph 43, is required.

       44.    TGW further answers that the parties have stipulated to the dismissal of

Count II, Count II has been dismissed, and therefore no response to allegations relating to

Count II, including Paragraph 44, is required.

                                      COUNT III
                         (Tortious Interference with Contract)

       45.    Paragraph 45 does not contain specific allegations against TGW, and is

instead, a reassertion of prior allegations against TGW. To the extent that Paragraph 45

contains allegations against TGW, TGW denies the same and re-alleges and incorporates


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by reference all prior responses as if set forth herein. TGW further answers that the

Court has dismissed Count III, and therefore no response to allegations relating to

Count III, including Paragraph 45, is required.

       46.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 46, is required.

       47.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 47, is required.

       48.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 48, is required.

       49.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 49, is required.

       50.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 50, is required.

       51.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 51, is required.

       52.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 52, is required.

       53.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 53, is required.

       54.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 54, is required.




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       55.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 55, is required.

       56.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 56, is required.

       57.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 57, is required.

       58.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 58, is required.

       59.    TGW answers that the Court has dismissed Count III, and therefore no

response to allegations relating to Count III, including Paragraph 59, is required.

       60.    TGW answers that the Court has dismissed Count III, and therefore, no

response to allegations relating to Count III, including Paragraph 60, is required.

                                       COUNT IV
                                        (Fraud)

       61.    Paragraph 61 does not contain specific allegations against TGW, and is

instead, a reassertion of prior allegations against TGW. To the extent that Paragraph 61

contains allegations against TGW, TGW denies the same and re-alleges and incorporates

by reference all prior responses as if set forth herein. TGW further answers that the

Court has dismissed Count IV, and therefore, no response to allegations relating to

Count IV, including Paragraph 61, is required.

       62.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 62, is required.



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       63.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 63, is required.

       64.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 64, is required.

       65.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 65, is required.

       66.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 66, is required.

       67.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 67, is required.

       68.    TGW answers that the Court has dismissed Count IV, and therefore no

response to allegations relating to Count IV, including Paragraph 68, is required.

                                    Demand for Jury Trial

       69.    TGW answers that it does not dispute RG Golf’s demand for a jury trial, to

the extent that said demand is permitted by law and/or contract. TGW further answers

that RG Golf is not permitted to any of the relief it requests from the Court.

                              TGW’s Affirmative Defenses

       70.    RG Golf’s claims are barred in whole or in part because it has failed to state

a claim upon which relief can be granted.

       71.    RG Golf’s claims are barred in whole or in part under the doctrines of

waiver, estoppel, and/or release.




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       72.    RG Golf’s claims are barred in whole or in part under the applicable statute

of limitations and/or the doctrine of latches.

       73.    RG Golf’s claims are barred in whole or in part because it has failed to

mitigate its damages.

       74.    RG Golf’s claims are barred in whole or in part by the explicit terms of the

Referral Agreement and/or the LOI.

       75.    RG Golf’s claims are barred in whole or in part because RG Golf has not

sustained any loss, damage, harm, or detriment in any amount based on the actions of

TGW.

       76.    RG Golf’s claims are barred in whole or in part because any alleged

damages were caused by the conduct of third-parties or other causes over whom TGW

had no control and for whose conduct TGW is not liable.

       77.    RG Golf’s claims are barred in whole or in part because it seeks relief not

available to it in law or equity.

       78.    RG Golf’s claims are barred in whole or in part based on any of the

defenses and objections applicable in the Federal Rules of Civil Procedure, including but

not limited to, all of the affirmative defenses listed in Fed. R. Civ. 8(c).




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      WHEREFORE, RG Golf’s prayer for relief should be denied in all respects, and

judgment should be entered in TGW’s favor.



                                      FAFINSKI MARK & JOHNSON, P.A.


Dated: September 9, 2019              By: s/ Patrick J. Rooney
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